Case 2:04-cr-20081-.]PI\/| Document 113 Filed 05/24/05 Page 1 of 2 Page|D 188

  

IN THE UNITED STATES DISTRICT F -U "¢"*` ----- '»\- ---D-G
FoR THE wESTERN I)ISTRICT oF TENNESSEF ,
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UNITED STATES oF AMERICA, W' ':’ r":""`r" ""“" MEF"€PH"S

Plailltiff,
v. CASE NO.: 04-cr-20081-]
BILLY T. PHILLIPS,

Defendant.

 

ORDER SETTING ASIDE GUILTY PLEA

 

IT APPEARING to the Court, upon statements of the Defendant, Billy Phillips, in open
court and for good cause shown, that the Defendant shall be allowed to withdraw his plea of
guilty and that the Defendant shall be allowed to proceed to trial on his plea of not guilty at a date

to be determined by the parties.

ALL OF WHICH IS ORDERED, ADJUDGED AND DECREED, this g ij day of

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JUD E JON PHIPPS MC CALLA
U.S DISTRICT COURT

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DISTRIC COURT - wESTERN D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 113 in
case 2:04-CR-20081 was distributed by faX, mail, or direct printing on
May 24, 2005 to the parties listed.

 

 

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Honorable .1 on McCalla
US DISTRICT COURT

